










	







IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-67,142-02






EX PARTE BYRON ANTHONY EDWARDS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 0316898 IN THE EIGHTH DISTRICT COURT


FROM HOPKINS COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated assault
with a deadly weapon and sentenced to ten years' imprisonment.  He did not appeal his conviction. 

	Applicant contends that his plea was involuntary because his counsel did not explain the
procedure, he was on suicide watch and having mental problems during the proceedings, and did not
understand the consequences of his plea.  He alleges he informed his counsel about his mental issues
and counsel failed to investigate or obtain his medical records.  Applicant also alleges that he
requested that his attorney file a notice of appeal, but counsel failed to do so.  Applicant has alleged
facts that, if true, might entitle him to relief.  Strickland v. Washington, 466 U.S. 608 (1984); Ex
parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these circumstances, additional
facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim. App. 1997),
the trial court is the appropriate forum for findings of fact.  The trial court may use any means set out
in Tex. Code Crim. Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court may rely on its
personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an attorney
to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	  The trial court shall make findings of fact and conclusions of law in regard to Applicant's
claim that his plea was involuntary. The trial court shall make findings of fact as to whether Applicant
was denied his right to a meaningful appeal due to counsel's failure to timely file a notice of appeal. 
The trial court shall also make any other findings of fact and conclusions of law that it deems relevant
and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall be
returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 




Filed:  April 18, 2007

Do not publish


